   4:15-mj-03113-CRZ         Doc # 24   Filed: 12/15/15    Page 1 of 1 - Page ID # 44




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                     Plaintiffs,                               4:15MJ3113
      vs.
                                                                 ORDER
NORMA RODRIGUEZ-ALVARADO,
                     Defendants.



      This matter comes before the Court on the request of the Federal Public Defender
for the Court to authorize Justin J. Cook, as a Criminal Justice Act Training Panel
Member, to assist in the defense of Norma Rodriguez-Alvarado.
      Accordingly,


      IT IS ORDERED:
      1)     Pursuant to the terms of Appendix I, Part 1(c) of the Amended Criminal
             Justice Act Plan for the District of Nebraska, Justin J. Cook is hereby
             assigned to assist the Federal Public Defender in the representation of the
             Defendant in the above-captioned case, and must file an entry of
             appearance forthwith.      Justin J. Cook shall not be eligible to receive
             compensation for his services in this case.


      2)     The Federal Public Defender shall continue to be primary counsel on behalf
             of the Defendant, Norma Rodriguez-Alvarado.


      December 16, 2015.
                                                BY THE COURT:
                                                s/ Cheryl R. Zwart
                                                United States Magistrate Judge
